Case 3:13-cv-04830-D-BN Document 3 Filed 12/11/13 Page 1 of i2 ge ernsy 4

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CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U'S.C- inh A413: 28

 

DEPUTY CLERK
IN THE UNITED STATES DISTRICT COURT
. FOR THE OST DISTRICT OF GBOREER

“Robert sewd

(Enter above the full name and prisoner
identification number of the plaintiff. )

“vs: 3-13CV-4830D
alls Sesion Ltlhu Mls, Ke “hy

[betAk hicks, Sidoy heed,
“Etter above the full name of the defendant Hs) )
- Jee 4K
L Previous Lawsuits
A. Have you begun other lawsuits in state or federal court dealing with (1) the same
facts involved in this action, or (2) otherwise relating to your imprisonment?

Yes (~~ No( )

B. If your answer to A (1) or (2) is yes, describe each lawsuit in the space below and tell
us whether the “old” case involves the same facts or other issues. (if there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same outline.)

1. Parties to this previous lawsuit:

Plaintifits).”  Woje,? kL Metid

 

Defendant(s): SAS Lwelihle - Lb tf

 

 

gd
2. Court (if federal court, name the district; Opa court, name the county):
NoiVhewd 24, Of Ce. , Li MY: aA Se ih.

 

 

3. Docket Number: £88 <OV- BHWSG MALI

 

 
Case 3:13-cv-04830-B-BN-- Document 3. Filed 12/11/13 Page 2of12 PagelD5

I. Previous Lawsuits (Cont'd)

 

J, /
4. Name of judge to whom case was assigned: (“ Phebe bey ots begs whi
aad
5. Did the previous case involve the same facts?
basi , . ’ L _* “ ; Cy fo
Yes ) No( )
6. Disposition (Was the case dismissed? Was it appealed? Is it still pending?):

C5, Dee we sced

 

7. Approximate date of filing lawsuit: Ay, 22°23

 

 

8. Approximate date of disposition: M2“ 4g 2203
i. Exhaustion of Administrative Remedies ae
A. Place of Present Confinement: Ya L, foc. S¥. of Loo ZL
B. Is there a prisoner grievapce procedure in this institution?
Yes ce No( ) .
C. Did you present the facts relating to your complaint in the state prisoner grievance
procedure?

Yes(, % No )

D. If your answer is YES:

 

 

 

 

 

 

 

1. What steps did you take and what were the results?
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2. If your answer is NO, explain why not: AL La
TL ~—Ss~Parties

(In item A below, place your name in the first blank and place your present address in the
second blank. Do the same for additional plaintiffs, if any.)

A. Name of Plaintiff(s): uh. / 6a 2h

 

 

 

 

 

 
Case 3:13-cv-04830-D-BN Document 3 Filed 12/11/13 Page 3of12 PagelD 6

Ii. Parties (Cont'd)

Address(es): WA, Ibose Se ERE. el
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(In item B below, place the full name of the defendant in the first blank, his/her official
position in the second blank, and his/her place of employment in the third blank. Do the same
for each additional defendant, if any.)

B. Defendant(s): Becht dienes, dears Liz il, ahetidin ll LitiN,

  
   

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Iv. Statement of Claim
State here as briefly as possible the facts of your case. Describe how each defendant is
involved. Include also the names of other persons involved, dates, and places. Do not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. (Use as much space
as you need. Attach extra sheets if necessary.)

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IV. Statement of Claim (Cont’ d)

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Vz Relief
State briefly exactly what you want the Court to do for you. Make no legal arguments.
Cite no cases or statutes.
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Signature of Plaintiff

 

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I declare under penalty of perjury that the foregoing is true and correct.

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Signature of Plaintiff

 
 

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Case 3:13-cv-04830-D-BN Document 3 Filed 12/11/13 Page 12o0f12 PagelD 15

 

 

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